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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                 CRIMINAL DOCKET

VERSUS                                                                                No. 10-154

DAVID WARREN, ET AL                                                               SECTION “I”



                                   ORDER AND REASONS

       Before the Court is a motion in limine filed by the government in which it seeks to

exclude defendants’ “prior good acts” evidence. The government seeks specifically to exclude

photographs depicting the activities of defendant, Dwayne Scheuermann (“Scheuermann”), in

the wake of Hurricane Katrina. The government also seeks to exclude commendations that

defendant, Robert Italiano (“Italiano”), received from the New Orleans Police Department

(“NOPD”). For the following reasons, the government’s motion is GRANTED IN PART and

DEFERRED IN PART.

   I. BACKGROUND

   This case concerns the alleged shooting and burning of Henry Glover in the immediate

aftermath of Hurricane Katrina, the alleged obstruction into a federal investigation of those

crimes, and the circumstances surrounding such events. The government’s eleven-count second

superseding indictment charges five former and current NOPD officers in connection with these

alleged crimes. The government has not alleged a conspiracy. Furthermore, no officer is

charged in every count of the second superseding indictment.

       A. Crimes Charged Against Scheuermann




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       Scheuermann and Gregory McRae (“McRae”) are charged in counts 3 through 7. Count

3 alleges that on or about September 2, 2005, Scheuermann and McRae, while acting under color

of law as NOPD officers, deprived EK and WT of the right to be free from the use of

unreasonable force by law enforcement officers and caused bodily injury to EK and WT.

       Count 4 alleges that on or about September 2, 2005, Scheuermann and McRae, while

acting under color of law as NOPD officers, and while aiding and abetting one another,

unreasonably seized WT’s vehicle by burning it without legal justification, thereby depriving

WT of the right to be free from an unreasonable search and seizure by law enforcement officers.

Count 4 further alleges that Scheuermann and McRae used fire and a dangerous weapon during

the alleged offense.

       Count 5 alleges that on or about September 2, 2005, Scheuermann and McRae, while

acting under color of law as NOPD officers and without legal justification, while aiding and

abetting one another, burned Henry Glover’s body, depriving Henry Glover’s family of their

rights to have access to the courts and to seek legal redress for a harm. Count 5 also alleges that

Scheuermann and McRae used fire and a dangerous weapon during the alleged offense.

       Count 6 alleges that on or about September 2, 2005, Scheuermann and McRae aided and

abetted one another in knowingly destroying evidence with intent to impede, obstruct, and

influence the investigation and proper administration of a matter within the jurisdiction of the

Federal Bureau of Investigation (“FBI”). Specifically, count 6 charges these defendants with

burning a 2001 Chevrolet Malibu containing the body of Henry Glover with the intent to impede,

obstruct, and influence the investigation of the September 2, 2005 shooting of Henry Glover by a

NOPD officer. Count 7 charges Scheuermann and McRae with aiding and abetting each other

and using fire to commit the felonies alleged in counts 4, 5, and 6.

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       B. Crimes Charged Against Italiano

       Count 8 charges both Italiano and Travis McCabe (“McCabe”). Count 8 alleges that on

or about December 2, 2005, Italiano and McCabe, in relation to and in contemplation of a matter

within the jurisdiction of the FBI, aided and abetted one another in knowingly altering,

concealing, covering up, falsifying, and making entries in documents with intent to impede,

obstruct, and influence the investigation and proper administration of a matter within federal

jurisdiction. Specifically, count 8 charges that Italiano and McCabe authored and submitted a

false and misleading official report with the intent to impede, obstruct, and influence the

investigation of the September 2, 2005 shooting and burning of Henry Glover.

       Count 9 alleges that on or about April 21, 2009, Italiano knowingly and willfully made

materially false statements and representations in a matter within the jurisdiction of the FBI

when he told FBI agents investigating the shooting and burning of Henry Glover that: (1) no

report was written after the shooting by Warren on September 2, 2005; (2) no missing persons

reports were being generated after Hurricane Katrina; and (3) he was not aware of a connection

between the September 2, 2005 shooting by Warren and the burning of a car and body behind the

Patterson Road levee. Count 9 further alleges that when Italiano made such statements to the

FBI, he knew that: (1) a report was written after the September 2, 2005 shooting by Warren; (2) a

missing persons report was generated for Henry Glover; and (3) there was a connection between

the Warren shooting and the burned car and body behind the Patterson Road levee.

   II. LAW AND ANALYSIS

       A. Character Evidence With Respect to the Accused

       “While Federal Rule of Evidence 404(a)(1) allows criminal defendants to introduce



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‘[e]vidence of a pertinent trait of character,’ Rule 405(a) precludes such evidence from taking the

form of specific instances in which the defendant acted in conformity with that trait.” United

States v. Cleveland, Criminal Action No. 96-207, 1997 WL 253124, *2 (E.D. La. May 14, 1997)

(Vance, J.) (alteration in original). However, there are instances in a criminal case when a

defendant may introduce specific instances of his conduct such as in “cases in which character or

a trait of character of a person is an essential element of a charge, claim, or defense . . . .” FED.

R. EVID. 405(b); see also United States v. Gulley, 526 F.3d 809, 818 (5th Cir. 2008) (“Rule

405(b) . . . limits the use of specific prior acts to cases where character is at issue ‘in the strict

sense’ because that method of proof ‘possess[es] the greatest capacity to arouse prejudice, to

confuse, to surprise, and to consume time.’”) (quoting FED. R. EVID. advisory comm. notes).

Otherwise, “[i]n all cases in which evidence of character or a trait of character of a person is

admissible, proof may be made by testimony as to reputation or by testimony in the form of an

opinion.” FED. R. EVID. 405(a).

         “Character evidence encompasses evidence of a defendant’s prior commendations and

awards.” United States v. Brown, 503 F. Supp. 2d. 239, 242 (D.D.C. 2007). Evidence of a

defendant’s commendations and awards is relevant only to the extent that such evidence purports

to show character traits that are pertinent to the crimes of which the defendant stands accused or

character traits that are essential elements of a charge or a defense. See United States v.

Washington, 106 F.3d 983, 999 (D.C. Cir. 1997).1 The United States Court of Appeals for the


1
  The United States Court of Appeals for the First Circuit has determined that a police officer’s commendations
“which . . . purport to show . . . bravery, attention to duty, [and] perhaps community spirit . . . [are] hardly pertinent”
to the crimes of perjury and conspiracy to commit mail fraud. United States v. Nazzaro, 889 F.2d 1158, 1160, 1168
(1st Cir. 1989). In another case, the United States Court of Appeals for the District of Columbia Circuit concluded
that a police officer’s commendation for “‘dedication, aggressiveness and assertiveness’ in investigating drug
dealing and carjacking is neither ‘pertinent’ to nor an ‘essential element’ of [such police officer’s] supposed lack of
predisposition to engage in the corrupt criminal activity with which he was charged.” Washington, 106 F.3d at 999.
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Fifth Circuit has rejected “the contention that lack of criminal intent may be demonstrated

through specific acts evidence.” Melton, 2008 WL 482893, at *2 (citing United States v.

Marrero, 904 F.2d 251, 260 (5th Cir. 1990)).

           B. Character Evidence Scheuermann Seeks to Introduce

           According to the government, Scheuermann seeks to introduce photographs depicting

activities, such as rescue operations, that he conducted in the wake of Hurricane Katrina. Some

of the photographs depict Scheuermann piloting a boat containing non-law enforcement persons

through New Orleans’ flooded streets. Other photos depict Scheuermann attempting to aid non-

law enforcement persons out of their flooded homes and out of the flooded streets. One photo

shows Scheuermann walking down an empty street.2

           Having reviewed Scheuermann’s photos, the Court concludes that such photos are

inadmissible evidence of specific instances of conduct. To the extent that Scheuermann may

attempt to introduce such photos to demonstrate a pertinent trait of character,3 the photos are



In United States v. Melton, Criminal No. 2:08cr107-DPJ-LRA, 2008 WL 4829893, *1 (S.D. Miss. Nov. 4, 2008),
the United States District Court for the Southern District of Mississippi determined that evidence purporting to show
a public official’s “trait of fighting crime and removing troubled property does not demonstrate a trait of character
under Rule 404(a)” that is pertinent to a charge that the public official deprived a person of his or her constitutional
rights.

Although the United States District Court for the District of Columbia has speculated that “a character trait akin to
‘professional diligence’ may be relevant” to the case as a whole or to a police officer defendant’s defense when the
“conduct at the heart of the charges against [police officer] Defendants . . . [is] part and parcel of Defendants’
professional diligence and involves their duties as police officers,” the court concluded that commendations “are
more akin to specific instances of conduct which may only be offered ‘[i]n cases in which character or a trait of
character of a person is an essential element of charge, claim, or defense.’” Brown, 503 F. Supp. 2d. at 243-44
(quoting FED. R. EVID. 405(b)) (alteration in original).
2
 To the extent that any of the photos do not depict Scheuermann and only show the general conditions in New
Orleans during Hurricane Katrina, the Court concludes that such photos are not relevant under Federal Rule of
Evidence 402 and are also excludable under Federal Rule of Evidence 403.
3
    The Court does not conclude that the photos demonstrate a pertinent trait of character.

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inadmissible because they depict specific instances of conduct and none of the photos can

reasonably be construed to depict a character trait that is an essential element of any charges

against Scheuermann or a defense to such charges. FED. R. EVID. 404(a)(1) & 405(b); see also

Melton, 2008 WL 482893, at *1.

        C. Character Evidence Italiano Seeks to Introduce

        According to the government, Italiano seeks to introduce seven commendations

given to him by the NOPD. Such commendations date from 19724, 1973, 1979, 1980, 1984, and

1994. Six of the commendations explicitly state that they were awarded for “[e]xemplary

performance and dedication to duty.” Each of the seven commendations details specific

instances of conduct. Specifically, the commendations state:

            1.) The First District M.C.I. Unit is commended for the exemplary
                performance and dedication to duty exhibited during the months of
                January 1, through August 31, 1984. During this period their
                actions resulted in 543 adult arrests, 255 state felony arrests, 131
                state misdemeanor arrests, the recovery of $160,000 in stolen
                property, and the processing of 1,238 state arrests for presentation
                to the office of the District Attorney. The quality, as well as the
                quantity of work performed by this unit has gained it the reputation
                of being one of the department’s most productive units.

            2.) On the night of July 12, 1972 two men armed with weapons, with
                no apparent reason, began roving the streets of your district with
                the intent to kill anyone they found. Three persons were shot at,
                one seriously wounded. You were able to identify the subjects,
                apprehending one after a diligent investigation. You also have an
                outstanding record of apprehensions. Your diligence, tenacity and
                knowledge of police work are commended.

            3.) You answered [an officer’s] call for assistance and began
                searching the area for the three men who had attempted to rob a
                citizen but due to the citizen’s stating to the men that they would
                have to kill him and lunging for the man who was holding the gun,

4
 Two of the commendation letters date from 1972. The 1984 and 1994 commendations appear to be “unit
citation[s]” awarded to a number of officers in units in which Italiano served as a commander.

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               the trio fled. At this time you observed a man being chased by two
               men. You joined in the chase and after about four blocks and a
               violent struggle apprehended the man. You then took the man
               back where he was positively identified. At this point you
               coordinated the investigation and supervised the scene. Officers
               Marie and Keller caught the other man being sought. A follow-up
               investigation revealed the three men are suspected of participating
               in sixteen robberies in a multi-parish area.

           4.) Acting on information received, you apprehended a subject who
               had been one of two perpetrators of armed robbery, bicycle theft
               and aggravated crime against nature on three young juveniles.
               Your actions are a credit to you and to the Department.

           5.) . . . [On] May 26, 1980, you and other members of the Second
               Platoon of the First District participated in an operation which
               ultimately led to the arrest of a dangerous and highly sought after
               fugitive.

               It is this type of cooperation among the members of this
               Department which can have a very important impact on the crime
               situation in this city.

               ...

           6.) Through diligence, perseverance and teamwork, a subject was
               arrested and over $20,000.00 worth of property was recovered
               which was identified as stolen in previous burglaries and thefts.

           7.) These officers are commended for their outstanding productivity,
               exemplary performance and dedication to duty. During the month
               of August, 1993, they effected 55 felony, 24 state misdemeanor, 8
               state traffic, 10 city traffic and 11 juvenile arrests in addition to
               handling 1076 calls for service. The majority of these arrests were
               self-initiated, often catching the felons in the act of committing the
               crimes. Their team work and high morale is directly attributable to
               their outstanding arrest success.

       Having reviewed Italiano’s seven commendations, the Court concludes that such

commendations are evidence of specific instances of conduct. None of the commendations detail

specific instances of conduct that could reasonably be construed to be probative of Italiano’s

character for truthfulness or veracity. Because Italiano is charged with obstruction of justice and

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making false statements, the commendations do not purport to show character traits pertinent to

such crimes. Brown, 503 F. Supp. 2d at 241 (“In determining which character traits may be

relevant to the instant case, the Court notes that Defendants have been charged with obstruction

of justice and making false statements. The Court concludes that such charges implicate the

truthfulness and veracity of Defendants . . . .”). As the commendations do not detail specific

instances of conduct that could reasonably be construed to show Italiano’s character for

truthfulness and veracity, Italiano may not introduce the commendations as evidence of specific

instances of conduct relevant to an essential element of his defense to the obstruction of justice

and false statements charges against him.

         D. Federal Rule of Evidence 403

         Even if Scheuermann’s photos and Italiano’s commendations were relevant and

otherwise admissible, the Court concludes that the probative value of such evidence would be

substantially outweighed by the danger of confusion of the issues, misleading the jury,

considerations of undue delay, and a waste of time. FED. R. EVID. 403.

         E. Other Issues

         There are two other issues raised in Italiano’s response. First, Italiano asserts that he

should be allowed to introduce evidence of a lack of citizen complaints against him. Although

the Court questions the admissibility of such evidence in any form, the Court DEFERS ruling on

this issue until trial.5 Second, Italiano argues that he should be allowed to introduce evidence


5
   As the United States Court of Appeals for the Third Circuit has stated, “testimony as to the lack of prior bad acts
is, in essence, testimony as to multiple instances of good conduct, and its admission would appear to violate a strict
reading of Rule 405(a).” Gov’t of the V.I. v. Grant, 775 F.2d 508, 512 (3rd Cir. 1985). As stated in the body of this
order, the United States Court of Appeals for the Fifth Circuit has rejected “the contention that lack of criminal
intent may be demonstrated through specific acts evidence.” Melton, 2008 WL 482893, at *2 (citing United States
v. Marrero, 904 F.2d 251, 260 (5th Cir. 1990)); see also United States v. Scarpa, 897 F.2d 63, 70 (2nd Cir. 1990)
(“A defendant may not seek to establish his innocence . . . through proof of the absence of criminal acts on specific
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“that he is a police officer whose history exemplifies a conscientious diligence in the prosecution

of his fellow police officers who may have broken the law.” The Court refrains at this time from

making a determination with respect to whether such alleged history is a pertinent character trait

to any charged crime or an essential element of a defense to any such crime. The Court also

DEFERS ruling on this issue until trial.6

                                                   CONCLUSION

         Accordingly, IT IS ORDERED that the Government’s motion to exclude evidence of

Scheuermann’s photos and Italiano’s commendations is GRANTED. Defendants and their

counsel are ORDERED not to mention such photographs, commendations, or their contents in

argument or in evidence unless prior permission of the Court is granted.


occasions.); United States v. Camejo, 929 F.2d 610, 613 (11th Cir. 1991) (“Evidence of good conduct is not
admissible to negate criminal intent.).

The Third Circuit has also observed that testimony regarding the lack of prior bad acts “is generally less probative of
good character than general reputation or opinion evidence, for one’s good reputation presumably reflects not only
the absence of specific bad acts, but also one’s good acts and general public conduct.” Grant, 775 F.2d at 512.
“Indeed, testimony that one has never been arrested is especially weak character evidence; a clever criminal, after
all, may never be caught.” Id.

To the extent that there is an effort to admit such evidence as background evidence, the Third Circuit has recognized
that “the line between background evidence and character evidence is blurred . . . .” Id. at 513 n. 7. The Court has
“wide discretion” whether to admit evidence it determines to be background evidence and it recognizes the low
probative value of such evidence. Id. at 513.

The probative value of any evidence of a lack of citizen complaints against Italiano would also likely be
substantially outweighed by the likelihood that such evidence would confuse the issues in this case, mislead the jury,
and constitute a waste of time under Federal Rule of Evidence 403. The way in which Italiano interacted with the
citizen population is not an issue with respect to Italiano and evidence that no citizen ever filed complaints against
Italiano would have little, if any, probative value with respect to the issues in this case.
6
  Even if the Court would conclude that such history demonstrates a pertinent character trait or an essential element
of Italiano’s defense, the probative value of any such evidence may be substantially outweighed by the likelihood
that such evidence would confuse the issues in this case, mislead the jury, and constitute a waste of time under
Federal Rule of Evidence 403. In particular, there is the risk that admitting specific instances of such conduct would
result in the Court having to conduct mini-trials on collateral issues as issues relative to each of the reports and
investigations Italiano allegedly conducted could be debated.

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       IT IS FURTHER ORDERED that, unless prior permission of the Court is granted,

Italiano and his counsel may not mention in argument or introduce into evidence the alleged lack

of citizen complaints against Italiano or his alleged involvement in the prosecution of his fellow

police officers. The Court DEFERS its rulings with respect to such matters.



                                           4th 2010.
       New Orleans, Louisiana, November ________,




                                                               LANCE M. AFRICK
                                                         UNITED STATES DISTRICT JUDGE




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